Case: 5:10-cr-00461-LW Doc #: 34 Filed: 01/20/11 1 of 2. PageID #: 111



                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHO
                                      EASTERN DIVISION


UNITED STATES OF AMERICA,                           )        Case No. 5:10CR461
                                                    )
                 Plaintiff,                         )        Judge Lesley Wells
                                                    )
        vs.                                         )        REPORT AND RECOMMENDATION
                                                    )        OF MAGISTRATE JUDGE
ALEJANDRO J. QUEZADA,                               )
                                                    )
                 Defendant.                         )        Magistrate Judge Kenneth S. McHargh
                                                    )


        Pursuant to General Order 99-49, this matter having been referred to United States Magistrate

Judge Kenneth S. McHargh for purposes for receiving, on consent of the parties, the defendant’s offer

of a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim record

of the proceedings to be prepared, referring the matter, if appropriate, for presentence investigation, and

submitting a Magistrate Judge’s Report and Recommendation stating whether the plea should be

accepted and a finding of guilty entered, the following, along with the transcript or other record of the

proceedings submitted herewith, constitutes the Magistrate Judge’s Report and Recommendation

concerning the plea of guilty proffered by the defendant.

        1.       On January 20, 2011, the defendant, accompanied by counsel, proffered a plea of guilty

                 to count 1 of the Indictment.

        2.       Prior to such proffer, the defendant was examined as to his competency, advised of the

                 charge and consequences of conviction, informed that the Federal Sentencing

                 Guidelines are advisory and the Court must consider them but the Court may impose

                 any sentence authorized by law, notified of his rights, advised that he was waiving all

                 his rights except the right to counsel, and, if such were the case, his right to appeal, and

                 otherwise provided with the information prescribed in Fed. R. Crim. P. 11.
Case: 5:10-cr-00461-LW Doc #: 34 Filed: 01/20/11 2 of 2. PageID #: 112




                                                   2

        3.      The parties and counsel informed the court about any plea agreement between the

                parties, the undersigned was advised that, aside from such agreement as described or

                submitted to the court, no other commitments or promises have been made by any

                party, and no other agreements, written or unwritten, have been made between the

                parties.

        4.      The undersigned questioned the defendant under oath about the knowing, intelligent,

                and voluntary nature of the plea of guilty, and finds that the defendant’s plea was

                offered knowingly, intelligently, and voluntarily.

        5.      The parties provided the undersigned with sufficient information about the charged

                offense(s) and the defendant’s conduct to establish a factual basis for the plea.

        In light of the foregoing and the record submitted herewith, the undersigned finds that the

defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed by the

United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned

recommends that the plea of guilty be accepted and a finding of guilty be entered by the Court.

                                                        s/Kenneth S. McHargh
                                                  Kenneth S. McHargh
                                                  United States Magistrate Judge

Date: January 20, 2011



        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

within fourteen (14) days of receipt of this notice. Failure to file objections within the specified time

WAIVES the right to appeal the Magistrate Judge’s recommendation. See, United States v. Walters,

638 F.2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985), reh’g denied, 474 U.S. 1111 (1986).
